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1    BRIAN D. SHAPIRO
     Federal Bankruptcy Trustee
2    510 S. 8th Street
     Las Vegas, NV 89101
3
     (702) 386-8600
4

5
                                     UNITED STATES BANKRUPTCY COURT
6
                                                DISTRICT OF NEVADA
7

8
     In re:                                           CASE NO. BK-S 24-11837 HLB
9                                                     IN PROCEEDINGS UNDER CHAPTER 7
     CUNNINGHAM, KYLE BRANDON
10
                                                      NOTICE OF ASSETS AND NOTICE TO FILE
11                                                    CLAIMS

12                               Debtor(s).
13   NOTICE IS HEREBY GIVEN, pursuant to Bankruptcy Rule 3002(c)(5), that the Trustee has found assets
14   in this bankruptcy estate from which a payment of a dividend appears possible.
     Any creditor holding a claim against the above-entitled estate may file a proof of claim in the
15   Office of the Clerk of the Bankruptcy Court, 300 Las Vegas Boulevard South, Las Vegas, Nevada
16   89101.

17
     NOTICE IS FURTHER GIVEN that to be considered for a dividend in accordance with the Rule, a proof
18   of claim must be filed within ninety (90) days after the date of mailing of this notice. The last date to file
     claims is OCTOBER 3, 2024.
19

20   NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 2002(7), after the expiration of
     the claims bar date in a Chapter 7 case, all notices required by Fed R. Bank P. 2002(a), except Fed. R.
21
     Bank. P. 2002(a)(4), may be mailed only to creditors whose claims have been filed with the Clerk of the
22   Court and to creditors, if any, who are permitted to file claims by reason of an extension granted under
23
     Fed. R. Bank. P. 3002(c)(6).

24

25   DATED: July 3, 2024                                              /s/ Brian D. Shapiro
                                                                      BRIAN D. SHAPIRO, TRUSTEE
26

27             NOTE: CLAIMS ARE TO BE FILED AT THE U.S. BANKRUPTCY COURT,
                 300 LAS VEGAS BOULEVARD SOUTH, LAS VEGAS, NEVADA 89101
28
              CLAIMS NOT FILED BY THE BAR DATE ARE GENERALLY NOT ALLOWED
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  Fill in this information to identify the case:

  Debtor 1


  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the:                  District of

  Case number




 Official Form 410
 Proof of Claim                                                                                                                                                       12/15

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                  Name of the current creditor (the person or entity to be paid for this claim)

                                  Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                  ・ No
   someone else?                  ・ Yes. From whom?

3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                        different)
   creditor be sent?
   Federal Rule of                Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                                  Number          Street                                                      Number          Street


                                  City                                   State               ZIP Code         City                            State                   ZIP Code

                                  Contact phone                                                               Contact phone

                                  Contact email                                                               Contact email




                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend          ・ No
   one already filed?
                                  ・ Yes. Claim number on court claims registry (if known)                                                Filed on
                                                                                                                                                      MM   / DD   / YYYY



5. Do you know if anyone          ・ No
   else has filed a proof         ・ Yes. Who made the earlier filing?
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ・ No
   you use to identify the       ・ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
   debtor?



7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                               ・
                                                                               No
                                                                            ・       Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                        charges required by Bankruptcy Rule 3001(c)(2)(A).
8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim   ・ No
   secured?                      ・ Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           ・ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                           ・ Motor vehicle
                                           ・ Other. Describe:


                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                             $
                                           Amount of the claim that is secured:           $

                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                   amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)               %
                                           ・     Fixed
                                           ・     Variable



10. Is this claim based on a     ・ No
    lease?
                                 ・ Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a   ・ No
    right of setoff?
                                 ・ Yes. Identify the property:




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12. Is all or part of the claim    ・ No
    entitled to priority under
    11 U.S.C. § 507(a)?            ・ Yes. Check all that apply:                                                                                    Amount entitled to priority

   A claim may be partly                  ・    Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $
   nonpriority. For example,
   in some categories, the                ・    Up to $2,775* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $
   entitled to priority.
                                          ・    Wages, salaries, or commissions (up to $12,475*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $
                                              11 U.S.C. § 507(a)(4).

                                          ・ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $

                                          ・ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $

                                          ・ Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $

                                          * Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adjustment.


 Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.            ・             I am the creditor.
 FRBP 9011(b).
                              ・             I am the creditor’s attorney or authorized agent.
 If you file this claim
 electronically, FRBP
                              ・             I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts ・             I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,
                                  and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and       I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date
                                                           MM / DD     /   YYYY




                                  8
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name
                                                          First name                           Middle name                            Last name

                                  Title

                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Number            Street


                                                          City                                                         State          ZIP Code

                                  Contact phone                                                                        Email




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